Case 2:23-cv-02224-MSN-atc Document 143 Filed 12/28/23 Page 1 of 5                  PageID 1139




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 RowVaughn Wells, Individually and as                       Case No. 2:23-CV-02224
 Administratrix Ad Litem of the Estate of
 Tyre Deandre Nichols, deceased.

                         Plaintiff,                         PLAINTIFF’S UNOPPOSED
                                                            MOTION FOR LEAVE TO FILE
                 vs.                                        AN OMNIBUS RESPONSE TO
                                                            PARAMEDIC DEFENDANTS’
                                                            MOTIONS TO DISMISS
 The City of Memphis, a municipality;
 Chief Cerelyn Davis, in her official capacity;
 Emmitt Martin III, in his individual capacity;
 Demetrius Haley, in his individual capacity;
 Justin Smith, in his individual capacity;
 Desmond Mills, Jr., in his individual capacity;
 Tadarrius Bean, in his individual capacity;
 Preston Hemphill, in his individual capacity;
 Robert Long, in his individual capacity;
 JaMichael Sandridge, in his individual capacity;
 Michelle Whitaker, in her individual capacity;
 DeWayne Smith, in his individual capacity and
 as an agent of the City of Memphis.

                         Defendants.

       PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE AN OMNIBUS
         RESPONSE TO PARAMEDIC DEFENDANTS’ MOTIONS TO DISMISS
         Plaintiff, by and through her attorneys, hereby files this Unopposed Motion for Leave to

 File an Omnibus Response to Paramedic Defendants’ Motions to Dismiss Plaintiff’s Complaint

 [Long—ECF Dkt. 128; Whitaker—ECF Dkt. 132; Sandridge—ECF Dkt 133). In support thereof,

 Plaintiff states as follows:

         1.      Plaintiff’s Complaint against Defendant City of Memphis, Defendant Chief

 Cerelyn Davis, and other Defendants was filed on April 19, 2023. ECF Dkt. 1.



                                                    1
Case 2:23-cv-02224-MSN-atc Document 143 Filed 12/28/23 Page 2 of 5                    PageID 1140




        2.      Defendant Long filed his Motion to Dismiss invoking Qualified Immunity on

 November 19, 2023. ECF Dkt. 128.


        3.      Defendant Whitaker filed her Motion to Dismiss invoking Qualified Immunity on

 December 8, 2023. ECF Dkt. 131-132.


        4.      Defendant Sandridge filed his Motion to Dismiss invoking Qualified Immunity on

 December 8, 2023. ECF Dkt. 133.

        5.      Pursuant to Western District of Tennessee Local Rules 7.2(e) and 12.1(b), all

 responses are permitted a maximum of 20-pages, individually.

        6.      In the interests of efficiency and judicial economy, Plaintiff proposes a single,

 omnibus Response brief with a maximum length of 40 pages to respond to the three Motions to

 Dismiss, rather than three 20-page Responses.

        7.      There is significant overlap in the supporting factual allegations and legal

 arguments between the three motions such that an omnibus response is appropriate:

                a. Each underlying Count is based on the same Constitutional provision: 14 th

                    Amendment Substantive Due Process.

                b. Each Motion is subject to the same standard: Federal Rule of Civil Procedure

                    12(b)(6).

                c. Each Motion seeks dismissal of the underlying Count pursuant to the same

                    legal theory: Qualified Immunity.

                d. Each Motion is brought by a Defendant with the same occupation and therefore

                    the substantive case law will be the same for each: Paramedics.

                e. Each Response has the same deadline: January 8, 2024.


                                                 2
Case 2:23-cv-02224-MSN-atc Document 143 Filed 12/28/23 Page 3 of 5                     PageID 1141




        8.       Plaintiff’s Counsel seeks leave to file a single, omnibus Response to the

 Paramedics Defendants’ motions with a limit of 40 pages, which does not exceed the amount of

 pages the Motions would be afforded individually.

        9.       Plaintiff’s Counsel met and conferred with Counsel for each of the Paramedic

 Defendants and there is no objection from any Defendant. See Certification of Consultation infra.

        10.      This Motion is made in good faith and in the interest of judicial efficiency.

        WHEREFORE, Plaintiff respectfully requests that this Court grant this Motion for Leave

 to File an Omnibus Response to Paramedic Defendants’ Motions to Dismiss.


 Dated: December 28, 2023                     Respectfully Submitted,

                                              /s/ Bryce T. Hensley________________
                                              ROMANUCCI & BLANDIN, LLC
                                              Antonio Romanucci (pro hac vice)
                                              (Illinois ARDC No. 6190290)
                                              Bhavani Raveendran (pro hac vice)
                                              (Illinois ARDC No. 6309968)
                                              Bryce Hensley
                                              (Illinois ARDC/WDTN No. 6327025)
                                              Sarah Raisch (pro hac vice)
                                              (Illinois ARDC No. 6305374)
                                              321 North Clark St., Suite 900
                                              Chicago, Illinois 60654
                                              Tel: (312) 458-1000
                                              Fax: (312) 458-1004
                                              Email: aromanucci@rblaw.net
                                              Email: b.raveendran@rblaw.net
                                              Email: bhensley@rblaw.net
                                              Email: sraisch@rblaw.net

                                              MENDELSON LAW FIRM
                                              David Mendelson
                                              (Tennessee Bar No. 016812)
                                              Benjamin Wachtel
                                              (Tennessee Bar No. 037986)
                                              799 Estate Place
                                              Memphis, Tennessee 38187
                                              Tel: (901) 763-2500 ext. 103

                                                 3
Case 2:23-cv-02224-MSN-atc Document 143 Filed 12/28/23 Page 4 of 5        PageID 1142




                                    Fax: (901) 763-2525
                                    Email: dm@mendelsonfirm.com
                                    Email: bwachtel@mendelsonfirm.com

                                    BEN CRUMP LAW
                                    Ben Crump (pro hac vice pending)
                                    (Washington, D.C. Bar No. 1552623)
                                    (Tennessee Bar No. 038054)
                                    Chris O’Neal (pro hac vice pending)
                                    (Florida Bar No. 910201)
                                    Brooke Cluse
                                    (Texas Bar No. 24123034)
                                    717 D Street N.W., Suite 310
                                    Washington, D.C. 20004
                                    Email: ben@bencrump.com
                                    Email: chris@bencrump.com
                                    Email: brooke@bencrump.com

                                    COUNCIL & ASSOCIATES, LLC
                                    Lashonda Council Rogers
                                    (Georgia Bar No. 190276)
                                    50 Hunt Plaza, SE Suite 740
                                    Atlanta, Georgia 30303
                                    Tel: (404) 526-8857
                                    Fax: (404) 478-8423
                                    Email: lrogers@thecouncilfirm.com

                                    EARNESTINE HUNT DORSE
                                    Earnestine Hunt Dorse
                                    (Tennessee Bar No. 012126)
                                    3268 N Waynoka Circle
                                    Memphis, Tennessee 38111-3616
                                    Tel: (901) 604-8866
                                    Email: ehdorse@gmail.com




                                       4
Case 2:23-cv-02224-MSN-atc Document 143 Filed 12/28/23 Page 5 of 5                       PageID 1143




                                CERTIFICATE OF CONSULTATION

         I, Bryce T. Hensley, hereby certify that I contacted Counsel for Paramedic Defendants via

  email on December 10, 2023, regarding this Motion. On December 10, 2023, Counsel for

  Paramedic Defendants each responded individually that the Paramedic Defendants do not have

  any objection this Motion.


                                                                       s/ Bryce T. Hensley
                                                                       Bryce T. Hensley


                                 CERTIFICATE OF SERVICE

         I, Bryce Thomas Hensley, hereby certify that on December 28, 2023, I electronically filed

  the foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such

  system will serve a copy of the foregoing upon all counsel of record in this action.


                                                                       s/ Bryce T. Hensley
                                                                       Bryce T. Hensley




                                                  5
